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   1   CENTER FOR HUMAN RIGHTS & CONSTITUTIONAL LAW
   2   Carlos R. Holguín (Cal. Bar No. 90754)
       256 South Occidental Boulevard
   3   Los Angeles, CA 90057
   4   Telephone: (213) 388-8693
       Email: crholguin@centerforhumanrights.org
   5

   6   NATIONAL CENTER FOR YOUTH LAW
       Leecia Welch (Cal. Bar No. 208741)
   7   Neha Desai (Cal. RLSA No. 803161)
   8   Mishan Wroe (Cal. Bar No. 299296)
       Melissa Adamson (Cal. Bar No. 319201)
   9   Diane de Gramont (Cal. Bar No. 324360)
  10   1212 Broadway, Suite 600 Oakland, CA 94612
       Telephone: (510) 835-8098
  11   Email: lwelch@youthlaw.org
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                             UNITED STATES DISTRICT COURT
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                            CENTRAL DISTRICT OF CALIFORNIA
  15
                                       WESTERN DIVISION
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  17
       JENNY LISETTE FLORES, et al.,            No. CV 85-4544-DMG-AGRx
  18
             Plaintiffs,                        [PROPOSED] ORDER ENFORCING
  19
                                                SETTLEMENT
  20   v.
                                                Hearing: Sept. 10, 2021
  21   MERRICK GARLAND, Attorney General of
                                                Time: 9:30 a.m.
       the United States, et al.,
  22                                            Hon. Dolly M. Gee
  23
             Defendants.
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   1           Plaintiffs’ Motion to Enforce Settlement Regarding Emergency Intake
   2   Sites, which seeks a class-wide order requiring Defendants to comply with the
   3   settlement approved by this Court on January 28, 1997 (“Settlement”), came on
   4   regularly for hearing on September 10, 2021.
   5           The Court, having read and considered the parties’ respective memoranda
   6   and evidence in support of and in opposition to Plaintiffs’ motion, and having
   7   heard oral argument from counsel, now GRANTS Plaintiffs’ motion.
   8           IT IS HEREBY ORDERED as follows:
   9        1. In accordance with Settlement ¶¶ 12.A and 14, Defendants shall, as
  10   expeditiously as possible, release class members detained at Emergency Intake
  11   Sites (“EIS”) to qualified custodians. Defendants shall make reasonable efforts to
  12   identify and eliminate any barriers to expeditious release of class members at
  13   EISs. As Settlement ¶ 18 requires, Defendants shall make and record their prompt
  14   and continuous efforts toward family reunification and the release of minors
  15   detained at EISs in accordance with Settlement ¶ 14.
  16        2. For each child detained in an EIS for more than 20 days and who is not
  17   suitable for placement in an Influx Care Facility (“ICF”) pursuant to Section 7.2.1
  18   of the ORR Policy Guide, ORR shall attach to monthly reports (e.g., the ORR
  19   Juvenile Coordinator Report) the individual record of Defendants’ prompt and
  20   continuous efforts toward family reunification and the release of such minors
  21   indicating the individual reasons why each such child has not been released to an
  22   available custodian or transferred to a licensed program as defined in Settlement ¶
  23   6.
  24        3. In accordance with Settlement ¶¶ 12.A and 12.C, Defendants shall place all
  25   minors in a licensed program1 as expeditiously as possible. Defendants shall,
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  27   1
         Pursuant to Texas Governor Abbott’s recent executive order, currently licensed ORR programs
       in Texas will, as of August 30, 2021, no longer be licensed by the Texas Health and Human
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       Services Commission Child Care Regulation. For purposes of this Order only, a “licensed

                                                    -1-                  [PROPOSED] ORDER ENFORCING SETTLEMENT
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   1   within 30 days of this Order, submit a written plan that describes the reasonable
   2   efforts it will take to place all minors in licensed facilities as expeditiously as
   3   possible, including specific plans to expand licensed bed capacity.
   4      4. No class member ineligible for placement in an ICF pursuant to the criteria
   5   set out in ORR Policy Guide § 7.2.1, i.e. no class member who: (1) is age 12 or
   6   younger; (2) does not speak English or Spanish as their preferred langauge; (3)
   7   has known special needs (including mental health or identified disabilities),
   8   behavioral health issues, or medical issues; (4) is a pregnant or parenting teen; or
   9   (5) requires a home study in order to be released to their proposed sponsor, shall
  10   be placed at the Fort Bliss EIS or Pecos EIS for more than 10 days, unless the
  11   class member’s release is imminent, the transfer would require separation of
  12   sibling groups, or no bed is available in a licensed program, an ICF, or any other
  13   EIS. Upon determining a class member fits within one of the categories listed
  14   above, ORR shall transfer the class member to a licensed program, an ICF, or any
  15   other EIS within 10 days of making said determination, unless the class member’s
  16   release is imminent, the transfer would require separation of sibling groups, or no
  17   bed is available in a licensed program, an ICF, or any other EIS. If all such beds
  18   are unavailable, such class members described in this paragraph shall be
  19   transferred to a licensed program, an ICF, or any other EIS as soon as space
  20   becomes available, unless their release is imminent or the transfer would require
  21   separation of sibling groups.
  22     5. In accordance with Settlement ¶¶ 11, 12, 14, and 18, and in consultation
  23   with the Independent Monitor, her medical expert, and Plaintiffs, Defendants
  24   shall, within 30 days of this Order, adopt mandatory standards, and procedures for
  25   monitoring compliance with such standards, ensuring that EIS placements are
  26   appropriate to minors’ age and special needs, are consistent with concern for the
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  28   program” shall include programs in Texas that were licensed by the Texas Health and Human
       Services Commission as dependent care facilities as of August 30, 2021.

                                                    2               NOTICE OF MOTION AND MOTION TO ENFORCE SETTLEMENT
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   1   particular vulnerability of minors, and are safe and sanitary. At a minimum, these
   2   standards shall: (1) ensure class members detained at EISs receive continuous case
   3   management and do not experience a gap in active case management; and (2)
   4   comply with ORR standards for influx care facilities found at ORR Policy Guide
   5   §§ 7.2.1 and 7.5.
   6
       Dated: ________________, 2021
   7
   8
                                        ___________________________________
   9                                    United States District Judge
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       Presented by:
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  12   __/s/ Leecia Welch___________
       Leecia Welch
  13   One of the attorneys for Plaintiffs
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                                                3             NOTICE OF MOTION AND MOTION TO ENFORCE SETTLEMENT
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